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  SO ORDERED.

 SIGNED this 3 day of October, 2023.




                                                        ____________________________________
                                                        David M. Warren
                                                        United States Bankruptcy Judge
 ______________________________________________________________________




                      UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                            WILMINGTON DIVISION

IN RE:

TSR, LLC                                                      CASE NO: 23-01577-5-DMW

           DEBTOR                                             CHAPTER 7

         ORDER AUTHORIZING EMPLOYMENT OF SPECIAL COUNSEL

       UPON APPLICATION of John C. Bircher III, Chapter 7 Trustee in the above-
 referenced case (“Trustee”) for an Order Authorizing Employment of Special Counsel,
 and

       IT APPEARING that the Trustee desires to retain the services of MATTHEW
 LADENHEIM and the firm of TREGO, HINES AND LADENHEIM, PLLC (the
 “Firm”) with compensation subject to Bankruptcy Court Approval, and

         IT APPEARING that such employment is in the best interest of the estate, and

        IT APPEARING that the Firm is disinterested and does not hold or represent
 an interest adverse to the estate; and, that to the Firm has no connection or
 relationship to or with the Debtor, creditors, or any other party in interest, nor with
 their Attorneys or accountants, and

       IT APPEARING that the specific facts necessary for the employment of Firm
 and the professional services to be rendered were outlined in the Application (Docket
 Entry #38); and

         NOW, THEREFORE, IT IS ORDERED that the Trustee in the above-
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 referenced case be and he is authorized to retain the Firm as Special Counsel for
 Trustee with compensation subject to Bankruptcy Court approval.

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